Case 2:14-cr-00124-TOR   ECF No. 888   filed 06/09/16   PageID.8792 Page 1 of 7


                                                                               FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON



                                                                      Jun 09, 2016
                                                                          SEAN F. MCAVOY, CLERK




                            6/9/2016
              Case 2:14-cr-00124-TOR                   ECF No. 888     filed 06/09/16   PageID.8793 Page 2 of 7
  $2 %     5HY  -XGJPHQW LQ D &ULPLQDO &DVH
             6KHHW $
                                                                                             -XGJPHQW²3DJH         RI
                                                                                                             2           7
  '()(1'$17 ROBERT ANDREW DELAO
  &$6( 180%(5 2:14CR00124-SMJ-4

                                           ADDITIONAL COUNTS OF CONVICTION
 Title & Section                 Nature of Offense                                                    Offense Ended     Count
18 U.S.C. § 373               Solicitation to Commit the Murder-For-Hire                                12/15/13             8
18 U.S.C. § 373               Solicitation to Commit the Murder-For-Hire                                12/15/13             9
21 U.S.C. § 841(a)(1),        Conspiracy to Distribute Heroin                                          06/01/13              11
   and 846
                Case 2:14-cr-00124-TOR                  ECF No. 888         filed 06/09/16         PageID.8794 Page 3 of 7
$2 %        5HY  -XGJPHQW LQ &ULPLQDO &DVH
              6KHHW  ² ,PSULVRQPHQW

                                                                                                         -XGJPHQW ² 3DJH   3   RI   7
'()(1'$17 ROBERT ANDREW DELAO
&$6( 180%(5 2:14CR00124-SMJ-4


                                                               IMPRISONMENT

        7KH GHIHQGDQW LV KHUHE\ FRPPLWWHG WR WKH FXVWRG\ RI WKH 8QLWHG 6WDWHV %XUHDX RI 3ULVRQV WR EH LPSULVRQHG IRU D
WRWDO WHUP RI

 264 months with respect to each of Counts 2, 3, and 11; 120 months with respect to each of Counts 4 through 6; 240 months with respect
 to Count 8; and 60 months with respect to Count 9. To be served concurrently with each other and the terms of imprisonment imposed in
 EDWA Cause Nos. 2:08-CR-057/2:09-CR-092-SMJ for a total term of imprisonment of 264 months.
 Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.
     ✔ 7KH FRXUW PDNHV WKH IROORZLQJ UHFRPPHQGDWLRQV WR WKH %XUHDX RI 3ULVRQV
     G
 Court recommends placement of the defendant at the BOP Facility in Oxford, Wisconsin.



     ✔ 7KH GHIHQGDQW LV UHPDQGHG WR WKH FXVWRG\ RI WKH 8QLWHG 6WDWHV 0DUVKDO
     G

     G 7KH GHIHQGDQW VKDOO VXUUHQGHU WR WKH 8QLWHG 6WDWHV 0DUVKDO IRU WKLV GLVWULFW
          G     DW                                    G D P     G S P         RQ                                         

          G     DV QRWLILHG E\ WKH 8QLWHG 6WDWHV 0DUVKDO

     G 7KH GHIHQGDQW VKDOO VXUUHQGHU IRU VHUYLFH RI VHQWHQFH DW WKH LQVWLWXWLRQ GHVLJQDWHG E\ WKH %XUHDX RI 3ULVRQV
          G     EHIRUH  SP RQ                                            

          G     DV QRWLILHG E\ WKH 8QLWHG 6WDWHV 0DUVKDO

          G     DV QRWLILHG E\ WKH 3UREDWLRQ RU 3UHWULDO 6HUYLFHV 2IILFH


                                                                    RETURN
, KDYH H[HFXWHG WKLV MXGJPHQW DV IROORZV




          'HIHQGDQW GHOLYHUHG RQ                                                           WR

DW                                                      ZLWK D FHUWLILHG FRS\ RI WKLV MXGJPHQW



                                                                                                      81,7(' 67$7(6 0$56+$/


                                                                            %\
                                                                                                   '(387< 81,7(' 67$7(6 0$56+$/
               Case 2:14-cr-00124-TOR                   ECF No. 888        filed 06/09/16         PageID.8795 Page 4 of 7
$2 %       5HY  -XGJPHQW LQ D &ULPLQDO &DVH
             6KHHW  ² 6XSHUYLVHG 5HOHDVH

                                                                                                          -XGJPHQW²3DJH
                                                                                                                             4     RI
                                                                                                                                               7
'()(1'$17 ROBERT ANDREW DELAO
&$6( 180%(5 2:14CR00124-SMJ-4
                                                         SUPERVISED RELEASE
8SRQ UHOHDVH IURP LPSULVRQPHQW WKH GHIHQGDQW VKDOO EH RQ VXSHUYLVHG UHOHDVH IRU D WHUP RI 

 5 years with respect to each of Counts 2, and 3, 3 years with respect to each of Counts 4 through 6, 8, and 9; and Life with respect to
 Count 11. To be served concurrently with each other for a total term of Supervised Release of Life.
         7KH GHIHQGDQW PXVW UHSRUW WR WKH SUREDWLRQ RIILFH LQ WKH GLVWULFW WR ZKLFK WKH GHIHQGDQW LV UHOHDVHG ZLWKLQ  KRXUV RI UHOHDVHIURP WKH
FXVWRG\ RI WKH %XUHDX RI 3ULVRQV
7KH GHIHQGDQW VKDOO QRW FRPPLW DQRWKHU IHGHUDO VWDWH RU ORFDO FULPH
7KH GHIHQGDQW VKDOO QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH 7KH GHIHQGDQW VKDOO UHIUDLQ IURP DQ\ XQODZIXO XVH RI D FRQWUROOHG
VXEVWDQFH 7KH GHIHQGDQW VKDOO VXEPLW WR RQH GUXJ WHVW ZLWKLQ  GD\V RI UHOHDVH IURP LPSULVRQPHQW DQG DW OHDVW WZR SHULRGLF GUXJ WHVWV
WKHUHDIWHU DV GHWHUPLQHG E\ WKH FRXUW
G 7KH DERYH GUXJ WHVWLQJ FRQGLWLRQ LV VXVSHQGHG EDVHG RQ WKH FRXUW¶V GHWHUPLQDWLRQ WKDW WKH GHIHQGDQW SRVHV D ORZ ULVN RI
      IXWXUH VXEVWDQFH DEXVH (Check, if applicable.)

✔ 7KH GHIHQGDQW VKDOO QRW SRVVHVV D ILUHDUP DPPXQLWLRQ GHVWUXFWLYH GHYLFH RU DQ\ RWKHU GDQJHURXV ZHDSRQ (Check, if applicable.)
G
✔ 7KH GHIHQGDQW VKDOO FRRSHUDWH LQ WKH FROOHFWLRQ RI '1$ DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU (Check, if applicable.)
G

G 7KH  GHIHQGDQW VKDOO FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86&   et seq
  DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ ZKLFK KH RU VKH UHVLGHV
      ZRUNV LV D VWXGHQW RU ZDV FRQYLFWHG RI D TXDOLI\LQJ RIIHQVH (Check, if applicable.)

G 7KH GHIHQGDQW VKDOO SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH (Check, if applicable.)
        ,I WKLV MXGJPHQW LPSRVHV D ILQH RU UHVWLWXWLRQ LW LV D FRQGLWLRQ RI VXSHUYLVHG UHOHDVH WKDW WKH GHIHQGDQW SD\ LQ DFFRUGDQFH ZLWK WKH
6FKHGXOH RI 3D\PHQWV VKHHW RI WKLV MXGJPHQW
          7KH GHIHQGDQW PXVW FRPSO\ ZLWK WKH VWDQGDUG FRQGLWLRQV WKDW KDYH EHHQ DGRSWHG E\ WKLV FRXUW DV ZHOO DV ZLWK DQ\ DGGLWLRQDOFRQGLWLRQV
RQ WKH DWWDFKHG SDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKH GHIHQGDQW VKDOO QRW OHDYH WKH MXGLFLDO GLVWULFW ZLWKRXW WKH SHUPLVVLRQ RI WKH FRXUW RU SUREDWLRQ RIILFHU
         WKH GHIHQGDQW VKDOO UHSRUW WR WKH SUREDWLRQ RIILFHU LQ D PDQQHU DQG IUHTXHQF\ GLUHFWHG E\ WKH FRXUW RU SUREDWLRQ RIILFHU
         WKH GHIHQGDQW VKDOO DQVZHU WUXWKIXOO\ DOO LQTXLULHV E\ WKH SUREDWLRQ RIILFHU DQG IROORZ WKH LQVWUXFWLRQV RI WKH SUREDWLRQ RIILFHU
         WKH GHIHQGDQW VKDOO VXSSRUW KLV RU KHU GHSHQGHQWV DQG PHHW RWKHU IDPLO\ UHVSRQVLELOLWLHV
         WKH GHIHQGDQW VKDOO ZRUN UHJXODUO\ DW D ODZIXO RFFXSDWLRQ XQOHVV H[FXVHG E\ WKH SUREDWLRQ RIILFHU IRU VFKRROLQJ WUDLQLQJ RU RWKHU
          DFFHSWDEOH UHDVRQV
         WKH GHIHQGDQW VKDOO QRWLI\ WKH SUREDWLRQ RIILFHU DW OHDVW WHQ GD\V SULRU WR DQ\ FKDQJH LQ UHVLGHQFH RU HPSOR\PHQW
         WKH GHIHQGDQW VKDOO UHIUDLQ IURP H[FHVVLYH XVH RI DOFRKRO
         WKH GHIHQGDQW VKDOO QRW SXUFKDVH SRVVHVV XVH GLVWULEXWH RU DGPLQLVWHU DQ\ FRQWUROOHG VXEVWDQFH RU SDUDSKHUQDOLD UHODWHG WR
          DQ\ FRQWUROOHG VXVEVWDQFHV H[FHSW DV SUHVFULEHG E\ D SK\VLFLDQ 8VH DFTXLVLWLRQ RU SRVVHVVLRQ RI PDULMXDQD ZLWK RU ZLWKRXW D
          SK\VLFLDQ V SUHVFULSWLRQ LV SURKLELWHG
         WKH GHIHQGDQW VKDOO QRW IUHTXHQW SODFHV ZKHUH FRQWUROOHG VXEVWDQFHV DUH LOOHJDOO\ VROG XVHG GLVWULEXWHG RU DGPLQLVWHUHG
        WKH GHIHQGDQW VKDOO QRW DVVRFLDWH ZLWK DQ\ SHUVRQV HQJDJHG LQ FULPLQDO DFWLYLW\ DQG VKDOO QRW DVVRFLDWH ZLWK DQ\ SHUVRQ FRQYLFWHG RI D
          IHORQ\ XQOHVV JUDQWHG SHUPLVVLRQ WR GR VR E\ WKH SUREDWLRQ RIILFHU
        WKH GHIHQGDQW VKDOO SHUPLW D SUREDWLRQ RIILFHU WR YLVLW KLP RU KHU DW DQ\ WLPH DW KRPH RU HOVHZKHUH DQG VKDOO SHUPLW FRQILVFDWLRQ RI DQ\
          FRQWUDEDQG REVHUYHG LQ SODLQ YLHZ RI WKH SUREDWLRQ RIILFHU
        WKH GHIHQGDQW VKDOO QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ VHYHQW\WZR KRXUV RI EHLQJ DUUHVWHG RU TXHVWLRQHG E\ D ODZ HQIRUFHPHQW RIILFHU
        WKH GHIHQGDQW VKDOO QRW HQWHU LQWR DQ\ DJUHHPHQW WR DFW DV DQ LQIRUPHU RU D VSHFLDO DJHQW RI D ODZ HQIRUFHPHQW DJHQF\ ZLWKRX W WKH
          SHUPLVVLRQ RI WKH FRXUW DQG
        DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH GHIHQGDQW VKDOO QRWLI\ WKLUG SDUWLHV RI ULVNV WKDW PD\ EH RFFDVLRQHG E\ WKH GHIHQGDQW¶V FULPLQDO
          UHFRUG RU SHUVRQDO KLVWRU\ RU FKDUDFWHULVWLFV DQG VKDOO SHUPLW WK H SUREDWLRQ RIILFHU WR PDNH VXFK QRWLILFDWLRQV DQG WR FRQILUP WKH
          GHIHQGDQW¶V FRPSOLDQFH ZLWK VXFK QRWLILFDWLRQ UHTXLUHPHQW
           Case 2:14-cr-00124-TOR                    ECF No. 888      filed 06/09/16        PageID.8796 Page 5 of 7
$2 %     5HY  -XGJPHQW LQ D &ULPLQDO &DVH
           6KHHW & ² 6XSHUYLVHG 5HOHDVH
                                                                                                    -XGJPHQW²3DJH      5     RI          7
'()(1'$17 ROBERT ANDREW DELAO
&$6( 180%(5 2:14CR00124-SMJ-4

                                        SPECIAL CONDITIONS OF SUPERVISION
 15) Defendant shall abstain from the use of illegal controlled substances, and shall submit to urinalysis testing (which may include
 urinalysis or sweat patch), as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued
 abstinence from these substances.

 16) Defendant shall pay outstanding monetary restitution imposed by the court.

 17) Defendant shall reside in a residential reentry center (RRC) for a period up to 180 days. Defendant shall abide by the rules and
 requirements of the facility and shall participate in programs offered by the facility at the direction of the supervising officer.

 18) Defendant shall submit Defendant's person, residence, office, or vehicle to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. Defendant shall warn persons with whom Defendant shares a residence that the
 premises may be subject to search.
             Case 2:14-cr-00124-TOR                  ECF No. 888         filed 06/09/16        PageID.8797 Page 6 of 7
$2 %     5HY  -XGJPHQW LQ D &ULPLQDO &DVH
           6KHHW  ² &ULPLQDO 0RQHWDU\ 3HQDOWLHV
                                                                                                   -XGJPHQW ² 3DJH      6      RI         7
'()(1'$17 ROBERT ANDREW DELAO
&$6( 180%(5 2:14CR00124-SMJ-4
                                              CRIMINAL MONETARY PENALTIES
     7KH GHIHQGDQW PXVW SD\ WKH WRWDO FULPLQDO PRQHWDU\ SHQDOWLHV XQGHU WKH VFKHGXOH RI SD\PHQWV RQ 6KHHW 

                      Assessment                                    Fine                                  Restitution
TOTALS                $800.00                                       $0.00                                 $71,304.54


G 7KH GHWHUPLQDWLRQ RI UHVWLWXWLRQ LV GHIHUUHG XQWLO            $Q Amended Judgment in a Criminal Case $2 & ZLOO EH HQWHUHG
    DIWHU VXFK GHWHUPLQDWLRQ

✔ 7KH GHIHQGDQW PXVW PDNH UHVWLWXWLRQ LQFOXGLQJ FRPPXQLW\ UHVWLWXWLRQ WR WKH IROORZLQJ SD\HHV LQ WKH DPRXQW OLVWHG EHORZ
G
    ,I WKH GHIHQGDQW PDNHV D SDUWLDO SD\PHQW HDFK SD\HH VKDOO UHFHLYH DQ DSSUR[LPDWHO\ SURSRUWLRQHG SD\PHQW XQOHVV VSHFLILHG RWKHUZLVH LQ
    WKH SULRULW\ RUGHU RU SHUFHQWDJH SD\PHQW FROXPQ EHORZ +RZHYHU SXUVXDQW WR  86&   L  DOO QRQIHGHUDO YLFWLPV PXVW EH SDLG
    EHIRUH WKH 8QLWHG 6WDWHV LV SDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage

  Elberta Carlile                                                            $60,211.76                $60,211.76      1st
  Crime Victim’s Compensation Fund                                            $8,000.00                 $8,000.00      2nd
  The Travelers Home and Marine Insurance Company                             $3,092.78                 $3,092.78      3rd




TOTALS                                                71,304.54                           71,304.54


G     5HVWLWXWLRQ DPRXQW RUGHUHG SXUVXDQW WR SOHD DJUHHPHQW 

G     7KH GHIHQGDQW PXVW SD\ LQWHUHVW RQ UHVWLWXWLRQ DQG D ILQH RI PRUH WKDQ  XQOHVV WKH UHVWLWXWLRQ RU ILQH LV SDLG LQ IXOO EHIRUH WKH
      ILIWHHQWK GD\ DIWHU WKH GDWH RI WKH MXGJPHQW SXUVXDQW WR  86&   I  $OO RI WKH SD\PHQW RSWLRQV RQ 6KHHW  PD\ EH VXEMHFW
      WR SHQDOWLHV IRU GHOLQTXHQF\ DQG GHIDXOW SXUVXDQW WR  86&   J 

✔
G     7KH FRXUW GHWHUPLQHG WKDW WKH GHIHQGDQW GRHV QRW KDYH WKH DELOLW\ WR SD\ LQWHUHVW DQG LW LV RUGHUHG WKDW

      ✔ WKH LQWHUHVW UHTXLUHPHQW LV ZDLYHG IRU WKH G ILQH G
      G                                                   ✔ UHVWLWXWLRQ
      G WKH LQWHUHVW UHTXLUHPHQW IRU WKH G ILQH G UHVWLWXWLRQ LV PRGLILHG DV IROORZV


 )LQGLQJV IRU WKH WRWDO DPRXQW RI ORVVHV DUH UHTXLUHG XQGHU&KDSWHUV $  $ DQG $ RI 7LWOH  IRU RIIHQVHV FRPPLWWHG RQ RU DIWHU
6HSWHPEHU   EXW EHIRUH $SULO  
            Case 2:14-cr-00124-TOR                   ECF No. 888          filed 06/09/16     PageID.8798 Page 7 of 7
$2 %    5HY  -XGJPHQW LQ D &ULPLQDO &DVH
          6KHHW  ² 6FKHGXOH RI 3D\PHQWV

                                                                                                      -XGJPHQW ² 3DJH   7     RI          7
'()(1'$17 ROBERT ANDREW DELAO
&$6( 180%(5 2:14CR00124-SMJ-4

                                                     SCHEDULE OF PAYMENTS

+DYLQJ DVVHVVHG WKH GHIHQGDQW¶V DELOLW\ WR SD\ SD\PHQW RI WKH WRWDO FULPLQDO PRQHWDU\ SHQDOWLHV DUH GXH DV IROORZV

A    G    /XPS VXP SD\PHQW RI                              GXH LPPHGLDWHO\ EDODQFH GXH

          G     QRW ODWHU WKDQ                                   RU
          G     LQ DFFRUGDQFH          G &         G '    G     ( RU    G ) EHORZ RU
B    ✔ 3D\PHQW WR EHJLQ LPPHGLDWHO\ PD\ EH FRPELQHG ZLWK
     G                                                                    G &    G ' RU     ✔) EHORZ  RU
                                                                                              G
C    G    3D\PHQW LQ HTXDO                    HJ ZHHNO\ PRQWKO\ TXDUWHUO\ LQVWDOOPHQWV RI                        RYHU D SHULRG RI
                       HJ PRQWKV RU \HDUV  WR FRPPHQFH                  HJ  RU  GD\V DIWHU WKH GDWH RI WKLV MXGJPHQW RU

D    G    3D\PHQW LQ HTXDO                     HJ ZHHNO\ PRQWKO\ TXDUWHUO\ LQVWDOOPHQWV RI                      RYHU D SHULRG RI
                        HJ PRQWKV RU \HDUV  WR FRPPHQFH                  HJ  RU  GD\V DIWHU UHOHDVH IURP LPSULVRQPHQW WR D
          WHUP RI VXSHUYLVLRQ RU

E    G    3D\PHQW GXULQJ WKH WHUP RI VXSHUYLVHG UHOHDVH ZLOO FRPPHQFH ZLWKLQ                  HJ  RU  GD\V DIWHU UHOHDVH IURP
          LPSULVRQPHQW 7KH FRXUW ZLOO VHW WKH SD\PHQW SODQ EDVHG RQ DQ DVVHVVPHQW RI WKH GHIHQGDQW¶V DELOLW\ WR SD\ DW WKDW WLPH RU

F    ✔ 6SHFLDO LQVWUXFWLRQV UHJDUGLQJ WKH SD\PHQW RI FULPLQDO PRQHWDU\ SHQDOWLHV
     G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.


8QOHVV WKH FRXUW KDV H[SUHVVO\ RUGHUHG RWKHUZLVH LI WKLV MXGJPHQW LPSRVHV LPSULVRQPHQW SD\PHQW RI FULPLQDO PRQHWDU\ SHQDOWLHV LV GXH
GXULQJ LPSULVRQPHQW $OO FULPLQDO PRQHWDU\ SHQDOWLHV H[FHSW WKRVH SD\PHQWV PDGH WKURXJK WKH )HGHUDO %XUHDX RI 3ULVRQV¶ ,QPDWH )LQDQFLDO
5HVSRQVLELOLW\ 3URJUDP DUH PDGH WR WKH IROORZLQJ DGGUHVV XQWLO PRQHWDU\ SHQDOWLHV DUH SDLG LQ IXOO &OHUN 86 'LVWULFW &RXUW $WWHQWLRQ
)LQDQFH 32 %R[  6SRNDQH :$ 

7KH GHIHQGDQW VKDOO UHFHLYH FUHGLW IRU DOO SD\PHQWV SUHYLRXVO\ PDGH WRZDUG DQ\ FULPLQDO PRQHWDU\ SHQDOWLHV LPSRVHG

G    -RLQW DQG 6HYHUDO

     &DVH 1XPEHUV LQFOXGLQJ GHIHQGDQW QXPEHU DQG 'HIHQGDQW DQG &R'HIHQGDQW 1DPHV 7RWDO $PRXQW -RLQW DQG 6HYHUDO $PRXQW
     DQG FRUUHVSRQGLQJ SD\HH LI DSSURSULDWH




G    7KH GHIHQGDQW VKDOO SD\ WKH FRVW RI SURVHFXWLRQ

G    7KH GHIHQGDQW VKDOO SD\ WKH IROORZLQJ FRXUW FRVW V 

G    7KH GHIHQGDQW VKDOO IRUIHLW WKH GHIHQGDQW¶V LQWHUHVW LQ WKH IROORZLQJ SURSHUW\ WR WKH 8QLWHG 6WDWHV




3D\PHQWV VKDOO EH DSSOLHG LQ WKH IROORZLQJ RUGHU  DVVHVVPHQW  UHVWLWXWLRQ SULQFLSDO  UHVWLWXWLRQ LQWHUHVW  ILQH SULQFLSDO
  ILQH LQWHUHVW  FRPPXQLW\ UHVWLWXWLRQ  SHQDOWLHV DQG  FRVWV LQFOXGLQJ FRVW RI SURVHFXWLRQ DQG FRXUW FRVWV
